12-12020-mg   Doc 6061-1 Filed 12/10/13 Entered 12/10/13 17:36:54   Schedule 1 -
                   Entities Confirming Change of Vote Pg 1 of 2



                                  Schedule 1
12-12020-mg   Doc 6061-1 Filed 12/10/13 Entered 12/10/13 17:36:54   Schedule 1 -
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                                   Schedule 1

                        Taconic Opportunity Master Fund LP
                        Credit Suisse Securities (USA) LLC
                                General Reinsurance
                              General Star Indemnity
                             Harney Investment Trust
                                 Finial Reinsurance
                        National Indemnity of Mid America
